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     In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1272V
                                         UNPUBLISHED


    SHERRIE SANDOVAL, Personal                                Chief Special Master Corcoran
    Representative of the Estate of
    ROBERT SANDOVAL, Deceased,                                Filed: February 25, 2020

                         Petitioner,
    v.                                                        Special Processing Unit (SPU); Joint
                                                              Stipulation on Damages; Influenza
    SECRETARY OF HEALTH AND                                   (Flu) Vaccine; Guillain-Barre
    HUMAN SERVICES,                                           Syndrome (GBS)

                        Respondent.


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for Respondent.


                               DECISION ON JOINT STIPULATION1

        On August 22, 2018, Sherrie Sandoval as Personal Representative of the estate
of Robert Sandoval, filed a petition for compensation under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner
alleges that the decedent, Robert Sandoval, suffered Guillain-Barre Syndrome (GBS)
resulting from the adverse effects of a September 26, 2016 influenza (flu) vaccination,
which subsequently caused his death. Petition at 1; Stipulation, filed February 24,
2020, at ¶¶ 2, 4. Petitioner further alleges the decedent received the flu vaccine in the
United States, and that there has been no prior award or settlement of a civil action for
damages on behalf of the decedent as a result of his condition and/or his death.
Petition at 1, 5-6; Stipulation at ¶¶ 3, 5. “Respondent denies that the flu vaccine caused
the decedent’s alleged GBS, any other injury, or his death. ” Stipulation at ¶ 6.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the
E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        Nevertheless, on February 24, 2020, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $2,198.72, which amount represents reimbursement of a
        Medicaid lien for services rendered on behalf of the decedent, in the form of a
        check payable jointly to Petitioner and the New Mexico Human Services
        Department. Stipulation at ¶ 8a.

        A lump sum of $275,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8b. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 SHERRIE SANDOVAL, Personal                     )
                                                )
 Representative of the Estate of ROBERT
                                                )
 SANDOVAL, deceased,
                                                )    No. 18-1272V
                Petitioner,                     )    Chief Special Master Corcoran
 v.                                             )    ECF
                                                )
 SECRETARY OF HEALTH AND HUMAN))
 SERVICES,                     )

_______________ Respondent.                     ))

                                        STIPULATION

       The parties hereby stipulate to the following matters:

       l. Sherrie Sandoval, as Personal Representative of the Estate of Robert Sandoval ("Mr.

Sandoval"), deceased, filed a petition for vaccine compensation under the National Vaccine

Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program"). The

petition seeks compensation for injuries and death allegedly related to Mr. Sandoval's receipt of

the influenza vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42

C.F.R. § 100.3(a).

       2. Mr. Sandoval received the influenza vaccine on or about September 26, 2016.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that as a result of receiving the influenza vaccine, Mr. Sandoval

suffered from Guillain-Barre Syndrome ("OBS"). Petitioner further alleges that Mr. Sandoval's

death was a sequela of his GBS.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on behalf of Mr. Sandoval as a result of his condition and/or his death.
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        6. Respondent denies that the flu vaccine caused Mr. Sandoval's alleged OBS, any other

injury, or his death.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2 l(a)(l ), respondent will issue the following vaccine

compensation payments:

             a. A lump sum of $2,198.72, which amount represents reimbursement of a Medicaid
                lien for services rendered on behalf of Mr. Sandoval, in the form of a check
                payable jointly to petitioner and

                                New Mexico Human Services Department
                                            P.O. Box 165596
                                         Irving, TX 75017-5596
                           Re: Medicaid ID# 00003068596019 (Robert Sandoval)
                                           Case File# 112339

             Petitioner agrees to endorse this payment to the New Mexico Human Services
             Department.

             b. A lump sum of $275,000.00 in the form of a check payable to petitioner as Legal
                Representative of the Estate of Robert Sandoval. This amount represents
                compensation for all remaining damages that would be available under 42 U.S.C.
                § 300aa-1 S(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings before

the Special Master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.


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        l 0. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-1S(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et. Seq.)), or entities that provide health services on a pre-paid basis.

        11. Payments made pursuant to paragraph 8 of this Stipulation, and any amount awarded

pursuant to paragraph 9, will be made in accordance with 42 U.S.C. § 300aa-15(i), subject to the

availability of sufficient statutory funds.

        12. Petitioner represents that she presently is, or within 90 days of the date of judgment

will become, duly authorized to serve as the legal representative of the Estate of Mr. Sandoval

under the laws of the State of New Mexico. No payment pursuant to this Stipulation shall be

made until petitioner provides respondent with documentation establishing her appointment as

legal representative of the Estate of Mr. Sandoval. If petitioner is not authorized by a court of

competent jurisdiction to serve as the legal representative of the Estate of Mr. Sandoval at the

time a payment pursuant to this Stipulation is to be made, any such payment shall be paid to the

party or parties appointed by a court of competent jurisdiction to serve as the legal representative

of the Estate of Mr. Sandoval upon submission of written documentation of such appointment to

respondent.

        13. In return for the payments described in paragraph 8, and any amount awarded

pursuant to paragraph 9, petitioner, in her individual capacity and as the legal representative of

the Estate of Mr. Sandoval, on h.er own behalf, and on behalf of the Estate of Mr. Sandoval, and

Mr. Sandoval's heirs, executors, administrators, successors or assigns, does forever irrevocably

and unconditionally release, acquit and discharge the United States and respondent from any and



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all actions or causes of action (including agreements, judgments, claims, damages, loss of

services, expenses and all demands of whatever kind or nature) that have been brought, could

have been brought, or could be timely brought in the Court of Federal Claims, under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any

way growing out of, any and all known or unknown, suspected or unsuspected personal injuries

to or death of Mr. Sandoval resulting from, or alleged to have resulted from, the flu vaccination

administered on or about September 26, 2016, as alleged by petitioner in a petition for vaccine

compensation filed on or about August 22, 2018, in the United States Court of Federal Claims as

petition No. 18-l 272V.

        14. If the Special Master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in confomJ,ity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        15. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability or amount

of damages, and further, that a change in the items of compensation sought is not grounds to

modify or revise this agreement.




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        16. This Stipulation shall not be construed as an admission by the United States or

respondent that the influenza vaccination caused Mr. Sandoval's alleged GBS or any other injury

or his death.

        17. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns as legal representatives of the Estate

of Mr. Sandoval.

                                     END OF STIPULATION




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  Respectfully submitted,

  PETITIONER:


  k~VAL~   RNEY OF RECORD FOR                 AUTHORIZED REPRESENTATIVE
            ONER:                             OF THE ATTORNEY GENERAL:
                                               ~                      ~L_____
                                                      RINE E. REEVES
                                             Deputy Director
                                             Torts Branch
                                             Civil Division
                                             U.S. Department of Justice
                                             P.O. Box 146
                                             Benjamin Franklin Station
                                             Washington, D C 20044-0146


  AUTHORIZED REPRESENTATIVE                    ATTORNEY OF RECORD FOR
  OF THE SECRETARY OF HEALTH                 . RESPONDENT:
  AND HUMAN SERVICES:



  TAMARA OVERBY
  Acting Director, Division of Injury
                                             ~gt~
                                              Senior Trial Attorney
  Compensation Programs                      Torts Branch
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  U.S. Department of Health                  U.S. Department of Justice
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  5600 Fishers Lane                          Benjamin Fra)'.l.klin Station
  Parklawn Building, Mail Stop 11 C-26       Washington, DC 20044-0146
  Rockville, MD 20857                        Tel: (202) 353-1589



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